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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF FLORIDA
                            PENSACOLA DIVISION


UNITED STATES OF AMERICA

             v.                                     Case No. 3:03cr140/RV

SCOTT ANDREW CARSTENS
__________________________________/


                           ORDER REDUCING SENTENCE

      Currently pending is the Government’s motion for a reduction of the defendant's
sentence under Rule 35(b), Federal Rules of Criminal Procedure. (Doc. 414) The
Government has certified defendant Carstens’s subsequent substantial assistance in
the investigation of prosecution of other individuals, so that a reduction of sentence
under Rule 35(b) is warranted.
      Upon consideration, I find that the grounds set out in the Government's motion
do constitute substantial assistance within the meaning of Rule 35(b), and that the
Government's motion should be, and is hereby, GRANTED. Accordingly, defendant
Carstens’s sentence and judgment entered herein on April 19, 2004, is hereby
amended and his sentence of imprisonment is reduced from a term of twenty-four
months to a term of twenty months and twenty-three days. In all other respects, the
defendant's judgment of April 19, 2004 (doc. 269), remains in full force and effect.
      DONE AND ORDERED this 15th day of August, 2005.


                                 /s/ Roger Vinson
                                 ROGER VINSON
                                 Senior U.S. District Judge
